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                                   STATEMENT OF FACTS

    1. Your affiant, T. Michael Class, Jr., is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and is assigned to the Counterterrorism Division, tasked with investigating
criminal activity in and around the Capitol grounds. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

    2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

    3. On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

   4. As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

    5. At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

    6. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

   7. During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

    8. On or about January 19, 2021, after receiving a tip into the FBI tip line, a FBI Special
Agent interviewed confidential witness one (“CW1”) regarding the January 6th events at the United
States Capitol. CW1 stated that CW1 learned from a family member who is an acquaintance of
JEFFREY GRACE that GRACE, who lives in Washington state, and his son flew to Washington,
D.C., and that GRACE was at the U.S. Capitol Building on January 6, 2021.

    9. On January 21, 2021, an FBI agent interviewed GRACE outside his residence. GRACE
stated that he traveled with his son to Washington, D.C., for sightseeing and to attend the rally for
President Donald Trump. Following the rally, GRACE got separated from his son and began
walking with a group of people toward the U.S. Capitol Building. GRACE entered the building
from the north side after seeing an open door. According to GRACE, two Capitol Police Officers
were standing at the door when he walked in, but they did not say anything to him. GRACE stated
that the law enforcement officers appeared to be overwhelmed by the number of protesters and
looked scared.

    10. GRACE stated that, once inside, GRACE walked to the Rotunda. He did not go anywhere
else in the building. GRACE stated that he picked up items that others had knocked over. He
decided to leave after witnessing several people causing damage to Capitol property. GRACE
stated that he saw an individual carrying what appeared to be a metal pipe, asked him to give him
the pipe, and when the individual refused, GRACE took it from him and placed it behind a wooden
object in the Rotunda. According to GRACE, the door he previously entered was closed, with
police officers blocking it, so he followed a group of people and climbed out a broken window.
GRACE noted that the jacket he was wearing during the interview may have been the one he wore
in the U.S. Capitol Building. GRACE stated that, although he had his cell phone with him, he did
not take any videos or photographs.

    11. GRACE stated that people he knew were contacting him on his cell phone telling him that he could
be seen in widely distributed photographs of a man carrying a lectern inside the Rotunda. GRACE said he
was the bald individual behind the person carrying the lectern. GRACE stated that he was not a member
of any group that advocated violence but that he knew people who were members of the following groups:
Three Percenters, Proud Boys, and 1% Outlaw Motorcycle Gang.

    12. FBI agents later found photographs depicting the man carrying the lectern and GRACE in
the background, including the two photos below:




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    13. I obtained a copy of closed circuit television (“CCTV”) footage taken from the Rotunda on
January 6, 2021. The video snippet that I reviewed is approximately three minutes long. I
recognize GRACE in the video as the same individual depicted in the two photographs above. In
the video, GRACE is wearing a dark shirt with a decal of a “Betsy Ross”-style American flag that has
a circle of white stars arranged in a blue field, in the upper left corner, and red and white stripes to the right,
dark pants, a black baseball cap, and carrying a khaki or possibly camo-style, jacket. I also
recognize the other man, standing in front of GRACE, carrying the lectern from the two
photographs above. It starts with GRACE placing something behind a statue at the top of the
screen and then helping to reattach the velvet ropes onto stanchions in the Rotunda. After GRACE
finishes, he speaks with someone briefly before leaving the Rotunda at the bottom of the screen.

    14. Based on the foregoing, your affiant submits that there is probable cause to believe that
JEFFREY GRACE violated 18 U.S.C. § 1752(a)(1), which makes it a crime to knowingly enter or
remain in any restricted building or grounds without lawful authority. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.




_________________________________
T. Michael Class, Jr.
Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 28th day of January 2021.

                   2021.01.28
                   16:47:45 -05'00'
___________________________________
ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE




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